               Case:
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                               United States Court of Appeals
                                    for the Fifth Circuit                            United States Court of Appeals
                                                                                              Fifth Circuit
                                                    ___________                             FILED
Certified as a true copy and issued
as the mandate on Apr 12, 2022
                                                                                         April 7, 2022
                                                     No. 21-30326
Attest:                                             ___________                        Lyle W. Cayce
                                                                                            Clerk
Clerk, U.S. Court of Appeals, Fifth Circuit
                    United States of America,

                                                                              Plaintiff—Appellee,

                                                         versus

                    Bryant Lamont Harris

                                                                 Defendant—Appellant.
                                         ____________________________

                                      Appeal from the United States District Court
                                         for the Eastern District of Louisiana
                                                USDC No. 2:20-CR-71-1
                                       ____________________________

                    Before King, Jones, and Duncan, Circuit Judges.

                                                  JUDGMENT

                            This cause was considered on the record on appeal and was argued by
                    counsel.
                            IT IS ORDERED and ADJUDGED that the judgment of the
                    District Court is AFFIRMED.
